                               Summary of Exhibits
Exhibit 1 - Proposed Order

Exhibit 2 - Notice of Motion and Opportunity to Object

Exhibit 3 - None [Brief Not Required]

Exhibit 4 - None [Separate Certificate of Service to be Filed]

Exhibit 5 - Affidavits [Not Applicable]

Exhibit 6 A - June 30, 2014 G. Bowen Deposition Transcript

Exhibit 6 B - July 2, 2014 M. Hall Deposition Transcript

Exhibit 6 C - July 14, 2014 G. Malhotra Deposition Transcript

Exhibit 6 D - July 16, 2014 K. Buckfire Deposition Transcript

Exhibit 6 E - July 22, 2014 K. Orr Deposition Transcript

Exhibit 6 F - Plan Confirmation Factual Propositions

Exhibit 6 G - August 13, 2014 S. Taranto Deposition Transcript

Exhibit 6 H - May 28, 2014 Hearing Transcript




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